                                      UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF MICHIGAN
                                             SOUTHERN DIVISION

       In re:                                                      Chapter 7 No. 05-73034
       Rhonda Y. Clark
                            Debtor.                                Hon. Steven W. Rhodes
       ______________________________/

      ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY AND WAIVING THE PROVISION
                                  OF FRBP 4001(a)(3)

               Movant, JPMorgan Chase Bank, as trustee - SURF 2004-BC4, by and through its attorneys, Trott &

      Trott, P.C., having filed a Motion For Relief From The Automatic Stay with respect to the property located at

      9100 Northlawn St, Detroit, MI 48204-2737; and the approximate market value of the property is $81,798.00;

      and the current debt owing to Movant is approximately $78,775.47, which includes Movant's Attorney fees

      and costs for filing this Motion; and any surplus on the sale of this property shall be distributed pursuant to

      applicable state law and procedures; and any deficiency on the sale of this property shall be treated as an

      unsecured debt; and the Court being in receipt of the Motion and Certificate of No Response, and the Court

      being fully advised in the premises:

               IT IS HEREBY ORDERED that the Automatic Stay is hereby terminated as to Movant with respect

      to the property located at 9100 Northlawn St, Detroit, MI 48204-2737; This Order is effective immediately

      upon entry by this Court notwithstanding the provision of FRBP 4001(a)(3). This Order shall be binding and

      effective despite any conversion of this bankruptcy case to a case under any other chapter of Title 11 of the

      United States Bankruptcy Code.



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      Entered: January 12, 2006
                                                                                _ __ _/s/ Steven Rhodes _ _
                                                                                    Steven Rhodes
                                                                                    Chief Bankruptcy Judge




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